
652 S.E.2d 650 (2007)
RAMBOOT, INC. d/b/a B &amp; R Lanes; Berley L. Buck, Individually; and Cassie L. Buck, Individually
v.
Robert V. LUCAS and Lucas, Bryant, Denning &amp; Ellerbe, P.A. (formerly Lucas, Bryant, Denning &amp; Edwards, P.A.).
No. 155P07.
Supreme Court of North Carolina.
October 11, 2007.
Larry C. Economos, Greenville, for Ramboot, Inc., et al.
Ronald C. Dilthey, Tobias S. Hampson, Raleigh, for Lucas, et al.
*651 Prior report: ___ N.C.App. ___, 640 S.E.2d 845.

ORDER
Upon consideration of the petition filed on the 27th day of March 2007 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
